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                       UNITED STATES BANKRUPTCY COURT
                                District of Delaware
                            824 Market Street, 3rd Floor
                               Wilmington, DE 19801


In Re:                                                    Chapter: 7
Global Aviation Holdings Inc.
101 World Drive
Peachtree City, GA 30269
 EIN: 20−4222196                                          Case No.: 13−12945−MFW




                                  ORDER REQUIRING STATUS REPORT


  AND NOW, the case docket reflecting an extended period of inactivity of 180 days or longer,

IT IS HEREBY ORDERED that pursuant to 11 U.S.C § 105(d)(1), counsel for the Trustee or the Trustee shall file a
status report within 21 days of the date of this order.




                                                                                Mary F. Walrath
                                                                                Bankruptcy Judge


Dated: Wilmington, Delaware
       5/9/19
